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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                                  Norfolk Division



  COBALT BOATS,LLC,

                             Plaintiff,
                    V,                                                             Civil Action No. 2:15cv21

  SEA RAY BOATS,INC.&
  BRUNSWICK CORP.,

                             Defendants.



                                               OPINION & ORDER


           This matter comes before the Court on Cobalt Boats, LLC's ("Plaintiffs" or "Cobalt's")

  Motion to Show Cause Why Brunswick Corporation Should Not be Held in Contempt of the

  Court's Permanent Injunction (the "Motion"). Doc. 427. A hearing for this matter took place on

  November 29, 2018. For the reasons stated below,the Court DENIES Plaintiffs Motion.

                                             I.       BACKGROUND


          On June 21, 2017, a jury returned a verdict finding that the swim steps on Brunswick's

  boats(the "Litigated Design") infringed claims 4 and 5 of Cobalt Boats''880 Patent. Doc. 338.'

  The jury found that Brunswick the Litigated Design infringed claim 4 of the '880 Patent both

  literally and under the doctrine of equivalents, and that Defendant had infringed 5 of Plaintiffs

  '880 Patent under the doctrine of equivalents only. Id. Claim 5 is an independent claim and

  Claim 4 depends on Claim 1 of the '880 patent. Claims 1,4, and 5 are reproduced below:




  'The parties also entered into a Stipulation prior to trial that "[t]o the extent that Cobalt prevails and obtains an
  injunction against Defendants, the injunction will apply equally to the Delrin washer used in the Sea Ray 220 and
  240 Sundeck models sold in or before March 2017, and Defendants will not argue that such Delrin washers are
  outside ofthe scope ofthe injunction." Doc. 315 at 2. The Delrin washer used in the Sea Ray 220 and 240 Sundeck
  models is referred to as the "Stipulated Design."
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